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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


Rover Pipeline LLC,                            :          Case No. 3:17-CV-225
                                               :
       Plaintiff                               :
                                               :
       v.                                      :          ORDER
                                               :
Brian D. Rohrs, et al.,                        :
                                               :
       Defendants                              :


       On April 16, 2018, the Court held a telephone conference on the record with counsel. This

Order confirms the following rulings made during the conference.

•      The parties have no objection to the Court’s appointment of any of the five proposed

       Commissioners or their proposed compensation, and Rover Pipeline agrees that it is

       obligated to pay their compensation. Accordingly, the Court appoints the Commissioners

       listed in its earlier order, see docket no. 328.

•      The parties will file a joint proposed scheduling order on or before May 7, 2018. All

       deadlines contained in prior scheduling orders are vacated.

•      The Court will hold a telephone conference at 10:00 am on May 8, 2018, using the same

       call-in numbers as were used for the April 16, 2018 telephone conference.

•      The Court will hold a conference on May 21, 2018 at 3:00 p.m. to discuss case management.

       IT IS SO ORDERED.

                                               /s/ James G. Carr
                                               JAMES G. CARR
                                               SENIOR UNITED STATES DISTRICT JUDGE

DATED: April 18, 2018
